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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT ()F ILLINOIS
EASTERN DIVISION

BODYGUARD PRODUCTIONS, INC., )
) Case No.: lS-cv-036l
Plaintit`t`, )
) Judge Robcrt W. Gcttlcman
v. )
)
DOES 1-26, )
)
Dcfendants. )

PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DOE DEFENDANT NO. l

Plaintiff, Bodyguard Productions, lnc., pursuant to Rule 41(a)(1) ofthe Federal Rules of
Civil Proccdure, hereby dismisses with prejudice all causes of action in the complaint against the
Doe Dcfendant associated with Internct Pretocol address 73.72.6].209 (Doe No. l). Each party shall
bear its own attorncy’s fees and costs. Plaintil`l`is not dismissing any other Doe defendants at this
timc.

The respective Doe Defendant has not lilcd an answer to the complaint or a motion l"or
summary/judgment in this matter. Thercforc, it is respectfully submitted that dismissal under Rulc
4l(a)(l) is appropriate

Respectfully submitted,
Datcd: June 14, 2018 BODYGUARD PRODUCTIONS, INC.

By: s/l\/lichael A. Hierl _
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CERTIFICATE OF SERVICE

The undersigned attomey hereby certifies that a true and correct copy of the foregoing
Notice of Voluntary Dismissal ofDoe Defcndant No. l was filed electronically with the Clerl< of
the Court and served on all counsel of record and interested parties via the Cl\/l/ECF system on
.lune 14, 2018.

s/Michael A. Hierl

 

